                                                                        CLERTS OFFICK ta.S.DIST.COURT
                                                                              ATROANOKE,VA
                                                                                    FILED

                                                                                 FEB -j 2219
                       IN TilE UNITED STATES DISTRJCT COURT                  JUL       DuDLEx CLERK
                      FOR THE W ESTERN DISTRICT OF VIRGN A                  BK
                              CHARLOTTESVILLE DIVISION                             E      C ERK




TA SH IBA CA RTER ,
                                                     CivilAction No.3:19CV00007
      Plaintiff,
                                                     M EM ORANDUM OPINTON

                                                     By:Hon.Glen E.Conrad
ESPERANZA,aSupervisoratBM S,eta1.,                   SeniorUnited StatesDistrictJudge

      Defendants.



      TashibaCarter,proceedingpro K ,comm encedthisaction byEling aform complaintunder
                                      .




TitleVIIoftheCivilRightsof1964 (çsr
                                  fitleVII''),42U.S.C.jj2000eto2000e-17,againstthree
individualsemployed by BM S. Theplaintiffhasnotpaidthefilingfeebutwillbegranted leave

toproceedLq formapaupedsforpurposesofinitialreview ofhercomplaint. Forthefollowing
reasons, the complaint will be dismissed without prejudice, pursuant to 28 U.S.C.
j1915(e)(2)(b)(ii).
                                          Backzround

      The plaintiT s complaint indicates thatshe was hired to perform com mercialclenning

servicesforBM S. TieplaintiY ssupervisorwasanindividualnnmedEspernnza.*'Theplaintiff
alleges that she was the only one in her group of employees who was Estold whatto do''by

Espernnza,even though the plaintiffSçdidn'tneed to betold.'' Compl.2,Dkt.N o.2. W hen the

plaintiffcomplained to Espernnza,the supervisoradvised herthatthe otheremployeeshad been

working forthecompany longerand did notrequireasmuch instm ction. Theplaintiffconstrued


      *Theplaintiffonly identifesthedefendantsbytheirflrstnames.


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Esperanza'scomm entstosuggestthattheplaintiffwasçtstupid.'' Id. Theplaintifffurtheralleges

thatEspernnzayelled ather,talkedtoherin Ednasty ways,''lockedheroutofahousekeepingcloset,

andpreventedherfrom usingclenningsupplies. JZ
       Theplaintiffreported Esperanza'sbehaviorto am anagernnm ed M arteen. Thereafter,an
area managernam ed Coretta came by to evaluate one ofthebuildingsin which theplaintiffwas

working. The plaintiffallegesthatCoretta also tried to show herhow to do herjob. On a
subsequentoccasion,the plaintiff notified a supervisorthatshe was going to be late to work.

Although the plaintiffwasonly lateby eleven m inutes,the supervisorlGdocked''the plaintifffor

being twenty m inuteslate. Id.8.

       Theplaintifffiled a form com plaintagainstEspernnza,M arteen,and Coretta on January

30,2019,along with a Sr ismissal and N otice of Rights''letter from the Equal Employm ent

Opportunity Com mission. In response to being asked to state what relief she is seelcing,the

plaintiffindicatesthatsheçswould liketobestress9ee.'' Id.10.
                                    Standard ofR eview

       Under28U.S.C.5 1915(e),which governstqformapauperisproceedings,thecourthasa
mandatorydutyto screeninitialfilings. ErilineCo.S.A.v.Johnson,440F.3d 648,656-57(4th
Cir.2006). Thecourtmustdismissacaseççatanytime''ifthecourtdetenninesthatthecomplaint
çtfailstostateaclaim onwhichreliefmaybegranted.'' 28U.S.C.j1915(e)(2)(B)(ii).
       Thestandardsforreviewing a complaintfordismissaltmderj 1915(e)(2)(B)(ii)arethe
snme asthose Which apply when a defendantm oves fordismissaltmder FederalRule ofCivil

Procedure 12(b)(6). De'Lonta v.Anaelone,330 F.3d 630,633 (4th Cir.2003). Thus,in
reviewingacomplaintunderthisstamte,thecourtm ustaccepta11well-pleaded factualallegations




                                             2
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astrue and view the complaintin the lightm ostfavorable to the plaintiff. Philips v.PittCtv.

M em.Hosp.,572F.3d 176,180(4th Cir.2009). Tosurvivedismissalforfailmetostateaclaim,
û:acomplaintmustcontain sufscientfactualm atter,acceptedastrue,to Sstateaclaim forreliefthat

isplausibleonitsface.''' Ashcroftv.Iqbal,556U.S.662,678(2009)(quotingBellAtl.Coro.v.
Twombly,550U.S.544,570(2007:.
                                        Discussion

       Asindicatedabove,Carterliled aform com plaintdesignated forpro K plaintiffswho wish

to pursue a claim tm derTitle VII. However,ST itle VIIdoesnotguarantee a happy workplace,

only onefreefrom tmlawfuldiscrimination''on thebasisofaprotected trait. Hartsellv.Duplex

Prods..Inc.,123 F.3d766,773 (4th Cir.1997);seealso42 U.S.C.j2000e-2(a)(çtItshallbean
tmlawf'ulemploymentpractice foran employer...to discrim inate againstany individualwith

respectto (her)compensation,terms,conditions,orpdvilegesofemployment,becauseofsuch
individual'srace,color,religion,sex,ornationalodgin(.)''). Becausetheplaintifrscomplaintis
devoid ofany indication thattheplaintiffwastreated differently on the basisofherrace,color,

religion,sex,ornationalorigin,the complaintfailsto statea claim llnderTitleVII.

       Additionally,even iftheplaintiffhad alleged suffk ientfactsto supportaviable claim of

discrim ination,Espernnza,M arteen,and Coretta could notbe held individually liablesincethey

are nottheplaintiY stçemployer''forpup osesofTitleVII. See Lissau v.Southem Food Serv..

Inc.,159F.3d177,180(4th Cir.1998)(holdingthatsupervisorsareççnotliableintheirindividual
capacitiesforTitleV1Iviolations').




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                                       Conclusion '

      Forthereasonsstated,thecourtwillgranttheplaintic smotion forleaveto proceedLq
fonna pauperis. However,hercomplaintwillbe dismissed withoutprejudice,pm suantto 28
U.S.C.j1915(e)(2)(B)(ii).
      The Clerk isdirected to send copiesofthismem orandllm opinion and theaccompanying

ordertotheplaintiff
      DATED:This'I.W        dayofFebruary, 2019.



                                          SeniorUnited StatesDistrictJudge




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